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              Exhibit A
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 “Baby Foods” collectively refers to the following Earth’s Best products:
    •   Earth’s Best Apple & Plums Organic Baby Food Stage 2;
    •   Earth’s Best Apple Apricot Organic Baby Food Stage 2;
    •   Earth’s Best Apple Butternut Squash Organic Baby Food Stage 2;
    •   Earth’s Best Apple Cinnamon Oatmeal Organic Baby Food Stage 3;
    •   Earth’s Best Apples & Blueberries Organic Baby Food Stage 2;
    •   Earth’s Best Apples Organic Baby Food Stage 2;
    •   Earth’s Best Apples Organic Baby Food;
    •   Earth’s Best Banana Mango Organic Baby Food Stage 2;
    •   Earth’s Best Banana Peach Raspberry Organic Baby Food Stage 2;
    •   Earth’s Best Bananas Organic Baby Food Stage 2;
    •   Earth’s Best Carrots Organic Baby Food Stage 2;
    •   Earth’s Best Chicken & Rice Organic Baby Food Stage 2;
    •   Earth’s Best Chicken and Brown Rice Organic Baby Food Stage 2;
    •   Earth’s Best Chicken Pot Pie Homestyle Meal Puree Pouch;
    •   Earth’s Best First Carrots Organic Baby Food Stage 1;
    •   Earth’s Best First Peas Organic Baby Food Stage 1;
    •   Earth’s Best First Pears Organic Baby Food;
    •   Earth’s Best First Sweet Potatoes Organic Baby Food Stage 1;
    •   Earth’s Best Organic Apple Peach Oatmeal Fruit & Grain Puree Pouch;
    •   Earth’s Best Organic Apple Raisin Flax & Oat Wholesome Breakfast Puree Pouch;
    •   Earth’s Best Organic Apple Strawberry Baby Food Puree Pouch;
    •   Earth’s Best Organic Apple Sweet Potato Pumpkin & Blueberry Baby Food Puree Pouch;
    •   Earth’s Best Organic Banana Apricot Pumpkin with Yogurt, Oat and Quinoa Wholesome
        Breakfast Puree Pouch;
    •   Earth’s Best Organic Banana Blueberry Baby Food Puree Pouch;
    •   Earth’s Best Organic Banana Raspberry & Brown Rice Fruit & Grain Puree Pouch;
    •   Earth’s Best Organic Blueberry Banana Flax & Oat Wholesome Breakfast Puree Pouch;
    •   Earth’s Best Organic Rice Cereal;
    •   Earth’s Best Organic Brown Rice Cereal;
    •   Earth’s Best Organic Butternut Squash Pear Baby Food Puree Pouch;
    •   Earth’s Best Organic Carrots & Broccoli Veggie Puree Pouch;
    •   Earth’s Best Organic Chicken Casserole with Vegetables & Rice Homestyle Meal Puree
        Pouch;
    •   Earth’s Best Organic Corn and Butternut Squash;
    •   Earth’s Best Organic Dairy Infant Formula with Iron;
    •   Earth’s Best Organic Fruit Yogurt Smoothie Apple Blueberry Pouch;
    •   Earth’s Best Organic Fruit Yogurt Smoothie Mixed Berry Pouch;
    •   Earth’s Best Organic Fruit Yogurt Smoothie Peach Banana Pouch;
    •   Earth’s Best Organic Fruit Yogurt Smoothie Pear Mango Pouch;
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    •   Earth’s Best Organic Fruit Yogurt Smoothie Pineapple Orange Banana Pouch;
    •   Earth’s Best Organic Fruit Yogurt Smoothie Strawberry Banana Pouch;
    •   Earth’s Best Organic Orange Banana Baby Food Puree Pouch;
    •   Earth’s Best Organic Peach Mango Baby Food Puree Pouch;
    •   Earth’s Best Organic Pear Carrot Apricot Baby Food Puree Pouch;
    •   Earth’s Best Organic Pumpkin & Spinach Veggie Puree Pouch;
    •   Earth’s Best Organic Pumpkin Cranberry Apple Baby Food Puree Pouch;
    •   Earth’s Best Organic Rice Cereal;
    •   Earth’s Best Organic Sensitivity—DHR/ARA Infant Formula with Iron Milk-Based
        Powder;
    •   Earth’s Best Sweet Potatoes Organic Baby Food;
    •   Earth’s Best Organic Sweet Potato Cinnamon Flax & Oat – Wholesome Breakfast Puree;
    •   Earth’s Best Organic Whole Grain Organic Oatmeal Cereal;
    •   Earth’s Best Organic Whole Grain Organic Multi-Grain Cereal;
    •   Earth’s Best Winter Squash Organic Baby Food;
    •   Earth’s Best Sesame Street Alphabet Cookies;
    •   Earth’s Best Sesame Street Organic Fruit Yogurt Smoothie - Apple Blueberry;
    •   Earth’s Best Sesame Street Organic Peanut Butter Baked Corn Puffs;
    •   Earth’s Best Spinach and Potato Organic Baby Food;
    •   Earth’s Best Sunny Days Snack Bars – Sweet Potato Carrot;
    •   Earth’s Best Organic Turkey Quinoa Apple Sweet Potato, Homestyle Meal Puree
    •   Earth’s Best Variety Packs
